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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

THE MUNICIPALITIES OF BAYAMÒN,                      )
CAGUAS, LOIZA, LARES, BARRANQUITAS, )
COMERIO, CAYEY, LAS MARIAS, TRUJILLO )
ALTO, VEGA BAJA, AÑASCO, CIDRA,                     )
AGUADILLA, AIBONITO, MOROVIS, MOCA, )
BARCELONETA, CAMUY, CATAÑO,                         )
SALINAS, ADJUNTAS, ARROYO, CULEBRA, )
DORADO, GUAYNABO, HORMIGUEROS,                      )
JUNCOS, LAJAS, MANATÍ, NAGUABO,                     )
NARANJITO, UTUADO, VILLALBA, COAMO, )
OROCOVIS, VIEQUES, and YABUCOA, on                  )
behalf of themselves and others similarly situated, )
known as the MUNICIPALITIES OF PUERTO               )
RICO,                                               )
                                                    ) Civil Action No. 22-CV-1550-SCC-HRV
              Plaintiffs,                           )
                                                    )
              v.                                    )
                                                    )
EXXON MOBIL CORP, ET AL.                            )
                                                    )
              Defendants.                           )


                    AMERICAN PETROLEUM INSTITUTE’S
                MOTION TO DISMISS UNDER FED. R. CIV. P. 12(B)(6)

                                  Attorneys for Defendant American Petroleum Institute
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                                          INTRODUCTION

        Several municipal governments in Puerto Rico (“Plaintiffs”) seek to punish the American

Petroleum Institute (“API”) for advocating a view contrary to Plaintiffs’ preferred narrative on one

of the most difficult and important public policy issues of our time. But that policy debate over

the costs and benefits of fossil fuels—which touches on both their foundational importance to 150

years of economic progress and their contributions to climate change—has more than one side.

And neither the First Amendment, Puerto Rico law, federal law, nor common sense allows

Plaintiffs to muzzle that debate with the threat of years of litigation, allegations of criminal activity,

and extraordinary civil liability.

        Plaintiffs assert fourteen claims against API, each of which fails for the reasons in

Defendants’ Joint Motion to Dismiss (ECF No. 235), which API adopts and incorporates in full.

        But API should be dismissed from this case for at least four additional reasons. First,

Plaintiffs have sued API for its pro-energy advocacy, so all of Plaintiffs’ claims against API

necessarily attack API’s speech. Even if Plaintiffs could otherwise state any claim (they cannot),

the First Amendment and its Puerto Rico analogue fully protect API’s speech on this important

issue from government censorship couched as a lawsuit. Second, API cannot be liable under RICO

when its only alleged involvement in the alleged “API Enterprise” is that of the enterprise itself.

Plaintiffs do not otherwise allege that API engaged in the necessary “racketeering activity.” Third,

Plaintiffs’ strict liability claims fail at the outset because Plaintiffs have not alleged that API

manufactured or sold a product, let alone one that caused them harm. Fourth, the Court should

dismiss Plaintiffs’ negligent design defect claim because no duty of care arises from the remote

relationship between a trade association and the end users of products.




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                                         BACKGROUND

       API is a nationwide, non-profit trade association representing over 600 companies

throughout the petroleum and natural-gas industry. Am. Compl. ¶ 205. As Plaintiffs recognize,

“API’s mission seek[s] to ‘influence public policy in support of a strong, viable U.S. oil and natural

gas industry[.]’”    Am. Compl. ¶ 207 (quoting About API, American Petroleum Institute,

https://www.api.org/about). Absent from the Amended Complaint is any allegation that API sells,

produces, refines, or transports fossil fuels—and indeed it does not.

       Plaintiffs seek to use the federal RICO and antitrust statutes, as well as statutory and

common law tort claims to punish API for its public advocacy. Plaintiffs cloak their efforts to

suppress this disfavored speech by asserting that API concealed the dangers of fossil fuel products,

promoted misleading information designed to undermine public support for the regulation of

greenhouse gas emissions, and, along with the Oil and Gas Defendants, made misleading

statements about climate change, the relationship between climate change and their fossil-fuel

products, and the urgency of the problem. See Am. Compl. ¶¶ 383, 400, 406, 429, 431, 529; ECF

No. 205-1 ¶¶ 68, 70-71, 75-76, 81.

                                           ARGUMENT

I.     Plaintiffs’ attempt to punish API’s advocacy violates bedrock constitutional
       guarantees.

       Plaintiffs’ claims against API violate the First Amendment’s proscription on “abridging

the freedom of speech, or of the press; or the right of the people . . . to petition the Government for

a redress of grievances.” U.S. Const. amend. I. Article II, section 4 of the Puerto Rico Constitution

provides the same rights. See Watchtower Bible Tract Soc’y of N.Y., Inc. v. Municipality of Santa

Isabel, 869 F. Supp. 2d 215, 217 (D.P.R. 2012) (explaining that the “[Puerto Rico] Constitution

recognizes and grants some fundamental rights with a more global and protective vision than does

the United States Constitution.”) (quotation and citation omitted). Plaintiffs’ claims against API

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violate these core speech rights by seeking to censor public discourse and advocacy on a matter of

significant controversy and public importance.

       A.      Plaintiffs seek to abridge API’s freedom of speech.

       Freedom of speech is sacrosanct under U.S. law. Indeed, “expression on public issues ‘has

always rested on the highest rung of the hierarchy of First Amendment values.’” N.A.A.C.P. v.

Claiborne Hardware Co., 458 U.S. 886, 913 (1982) (quoting Carey v. Brown, 447 U.S. 455, 467

(1980)) (emphasis added). Speech on important public issues “is the essence of self-government.”

Id. The First Amendment “presupposes that right conclusions are more likely to be gathered out

of a multitude of tongues, than through any kind of authoritative selection.” United States v.

Associated Press, 52 F. Supp. 362, 372 (S.D.N.Y. 1943) (Hand, J.). The nation has “a profound

[] commitment to the principle that debate on public issues should be uninhibited, robust, and

wide-open.” N.Y. Times Co. v. Sullivan, 376 U.S. 254, 270 (1964). This “constitutional protection

does not turn upon ‘the truth, popularity, or social utility of the ideas and beliefs which are

offered.’” Id. at 271 (quoting N.A.A.C.P. v. Button, 371 U.S. 415, 433 (1963)); see also id. at 271–

72 (recognizing “[t]hat erroneous statement is inevitable in free debate, and that it must be

protected if the freedoms of expression are to have the ‘breathing space’ that they ‘need . . . to

survive’”) (quoting Button, 371 U.S. at 433).

       Yet the Complaint unabashedly tries to suppress API’s speech “because of disagreement

with the message the speech conveys.” Caribbean Int’l News Corp. v. Fuentes Agostini, 12 F.

Supp. 2d 206, 217 (D.P.R. 1998) (citing Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989));

see also R.A.V. v. City of St. Paul, 505 U.S. 377, 391–92 (1992) (“[The government] has no

authority to license one side of a debate to fight freestyle, while requiring the other to follow

Marquis of Queensberry rules.”). Though Plaintiffs are using a civil lawsuit as the means, the end

is the same censorship barred by the First Amendment. See Snyder v. Phelps, 562 U.S. 443, 452


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(2011); James v. Meow Media, Inc., 300 F.3d 683, 695–97 (6th Cir. 2002) (affirming dismissal

because complaint that sought to regulate speech through tort liability raised “significant

constitutional problems under the First Amendment”). To safeguard free speech, courts have

dismissed similar speech regulations masquerading as tort claims, including consumer protection

claims. See, e.g., New York Pub. Interest Research Grp., Inc. v. Insurance Info. Inst., 161 A.D.2d

204, 206 (N.Y. Sup. Ct. 1990) (dismissing consumer protection suit against defendants seeking

“to influence public officials, voters and citizens in general in order to increase sympathy for the

concerns of the insurance industry” because they “engaged in precisely the sort of free debate

which the First Amendment was intended to safeguard”).

       The First Amendment requires the same result here. The debate over the benefits of fossil

fuels and the risks posed by global climate change is one of the most difficult and controversial

public policy issues of our time. There is no doubt that Plaintiffs could pass no law directly

prohibiting API from weighing in on these matters of critical public importance. The First

Amendment equally forbids the same impermissible regulation through this lawsuit.

               1.      Plaintiffs’ claims against API are subject to strict scrutiny.

       Because the speech Plaintiffs attack is untethered to any commercial transaction, the speech

is noncommercial, or policy, speech subject to strict scrutiny. But even if the speech were

commercial, Plaintiffs seek to silence only opinions with which they disagree; such content-based

restrictions are also subject to strict scrutiny. Either way, strict scrutiny applies. And either way,

Plaintiffs’ claims violate the First Amendment.

                       a.      Plaintiffs’ claims try to suppress noncommercial speech.

       The API speech that Plaintiffs seek to muzzle is noncommercial speech, which is

guaranteed full First Amendment protection. Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163–

64 (2015) (restraints on noncommercial speech are subject to strict scrutiny). “[T]he proposal of


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a commercial transaction [is] the test for identifying commercial speech.” City of Cincinnati v.

Discovery Network, Inc., 507 U.S. 410, 423 (1993); see also Harris v. Quinn, 573 U.S. 616, 648

(2014) (confirming that the Supreme Court’s “precedents define commercial speech as speech that

does no more than propose a commercial transaction”).

       API’s policy campaigns are plainly noncommercial speech because they propose no

transaction. City of Cincinnati, 507 U.S. at 423. And they address a topic of great public

importance. Indeed, the Complaint identifies no commercial transaction API proposed. Even if

advocacy takes the form of an advertisement, that “does not necessarily render such speech

commercial in nature.” Adventure Commc’ns, Inc. v. Ky. Registry of Election Fin., 191 F.3d 429,

440 (4th Cir. 1999). The litmus test is whether a commercial transaction is proposed, not whether

the speaker paid to have his or her voice heard. After all, even the landmark N.Y. Times v. Sullivan

decision addressed a paid advertisement addressing an important policy issue.

       Any effort to recast API’s policy advocacy as commercial speech must fail. Notably, the

Supreme Court has cast doubt on the proposition that commercial speech merits any less protection

than noncommercial speech.       See Sorrell v. IMS Health Inc., 564 U.S. 552, 566 (2011).

Regardless, any commercial element of API’s speech would be intertwined with noncommercial

speech to influence public policy, which entitles API’s challenged speech to full First Amendment

protection. See Riley v. Nat’l Fed’n of the Blind of N.C., Inc., 487 U.S. 781, 796–98 (1988)

(explaining that for “inextricably intertwined” speech, “we apply our test for fully protected

expression,” and that if “the means chosen to accomplish [the state’s purported interest] are unduly

burdensome and not narrowly tailored[,]” the regulation cannot stand); see also In re Orthopedic

Bone Screw Prods. Liab. Litig., 193 F.3d 781, 793 (3d Cir. 1999) (applying Riley where “speech

consists of complex mixtures of commercial and noncommercial elements”).




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        Courts have often recognized that trade association speech is noncommercial. See, e.g.,

Nat’l Servs. Grp., Inc. v. Painting & Decorating Contractors of Am., Inc., No. SACV06-563, 2006

WL 2035465, at *6 (C.D. Cal. July 18, 2006) (concluding that a trade association’s article was

“economically motivated only in an indirect sense” and it “attempt[ed] to inform its members of

an issue affecting their economic interests” rather than promoting the services of its members);

Gordon & Breach Sci. Publishers S.A., STBS v. Am. Inst. of Physics, 859 F. Supp. 1521, 1539–41

(S.D.N.Y. 1994) (concluding that challenged statements made by nonprofit entity that ranked its

own publications higher than that of the plaintiff was noncommercial, and “[t]he fact that [the

defendants] stood to benefit from publishing [the challenged statement]—even that they intended

to benefit—is insufficient by itself to turn the articles into commercial speech”). That recognition

makes good sense: public policy advocacy, like the trade association speech attacked by Plaintiffs,

does not cross the line into commercial speech unless it is “peppered with advertising” to buy a

particular company’s products. See Semco, Inc. v. Amcast, Inc., 52 F.3d 108, 112–13 (6th Cir.

1995). Of course that is not the case here, because API does not sell fossil fuels.

        In sum, Plaintiffs’ allegations fail to identify any commercial transaction proposed by API,

let alone a transaction that can be disentangled from API’s noncommercial speech in the policy

debate. The challenged API speech thus is noncommercial speech, and Plaintiffs’ attempt to

punish it is subject to strict scrutiny.

                        b.       Even if the speech were commercial speech, Plaintiffs seek to
                                 impose improper content-based restrictions on it.

        Even if, contrary to fact, the speech Plaintiffs attack were commercial speech, Plaintiffs’

effort to censor speech based on its content would still violate the First Amendment. 1 “The




1
  Last year, the Supreme Court reiterated that the few exceptions to this rule must be policed
scrupulously. Counterman v. Colo., 143 S. Ct. 2106, 2113–17 (2023).

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government may not regulate speech based on hostility—or favoritism—towards the underlying

message expressed.” Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 763 (1994). “Content-

based restrictions are presumptively invalid under the First Amendment.” Caribbean Int’l News

Corp. v. Fuentes Agostini, 12 F. Supp. 2d 206, 217 (D.P.R. 1998) (citation omitted); see also

Sorrell, 564 U.S. at 566 (“The First Amendment requires heightened scrutiny whenever the

government creates ‘a regulation of speech because of disagreement with the message it

conveys.’”) (quoting Ward, 491 U.S. at 791). “Commercial speech is no exception.” Id. The

Supreme Court thus rejected the argument that “a different analysis applies” where a regulation

“burdens only commercial speech” because “the outcome is the same whether a special

commercial speech inquiry or a stricter form of judicial scrutiny is applied.” Id. at 571.

       In R.A.V. v. St. Paul, the Supreme Court reversed the defendant’s conviction for cross

burning under an ordinance that proscribed certain categories of speech calculated to arouse

resentment on the basis of “race, color, creed, religion or gender.” 505 U.S. at 380-81. The Court

held the ordinance “facially unconstitutional.” Id. at 381. Although the Court recognized that the

categories of speech covered by the ordinance might be proscribed as unprotected speech under

the “fighting words” doctrine, the ordinance violated the First Amendment by proscribing only

certain categories of fighting words related to race, color, creed, religion, or gender, while leaving

uncensored other categories of fighting words related to issues such as political affiliation, union

membership, or homosexuality. Id. at 391. The point is even more compelling here because,

unlike fighting words, commercial speech is a protected category of speech, but Plaintiffs seek to

censor only commercial speech favorable to fossil fuels, while allowing unfettered (and

questionably accurate) commercial speech critical of fossil fuels by, for example, sellers of solar

panels. The First Amendment prohibits the government from discriminating among opposing

messages in this way, even if the speech falls into a category like fighting words or libel that the

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government can proscribe. Id. at 392. “The government may proscribe libel; but it may not make

the further content discrimination of proscribing only libel critical of the government.” Id. at 384

(emphasis in original).

        Viewpoint discrimination occurs when “the government ‘targets not particular subject

matter but particular views taken by speakers on a subject.’” Rodriguez-Cotto v. Pierluisi-Urrutia,

No. CV 20-1235 (PAD), --- F. Supp. 3d ---, 2023 WL 2726995, at *10 n.12 (D.P.R. Mar. 31, 2023)

(quoting Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 828 (1995)). “Viewpoint

discrimination is ‘an egregious form of content discrimination’ in which ‘the government targets

not subject matter, but particular views taken by speakers on a subject.’” McCoy v. Town of

Pittsfield, No. 1:20-CV-362-JL, 2020 WL 7321522, at *3 (D.N.H. Dec. 10, 2020), aff’d sub nom.

McCoy v. Town of Pittsfield, N.H., 59 F.4th 497 (1st Cir. 2023) (quoting Rosenberger, 515 U.S. at

829).

        Plaintiffs’ allegations confirm that they seek to regulate API’s speech because of its content

and because of its viewpoint. The Amended Complaint targets API’s pro-energy speech because

it told consumers that the petroleum industry “could help them ‘live better lives’” and touted the

industry’s initiatives in tackling climate change. ECF No. 205-1, ¶¶ 68, 70-71, 75-76. Plaintiffs

also attack decades-old statements made by API representatives on the public benefits of the

energy industry. Am. Compl. ¶¶ 383, 400, 431, 529. Plaintiffs are trying to snuff out any pro-

fossil fuel advocacy.     Regardless of whether the speech is noncommercial or commercial,

Plaintiffs’ claims are a viewpoint-based restriction and thus “still subject to strict scrutiny under

Reed.” Int’l Outdoor, Inc. v. City of Troy, Mich., 974 F.3d 690, 702–03 (6th Cir. 2020).

               2.       Plaintiffs’ claims are subject to strict scrutiny.

        Strict scrutiny “is a demanding standard.” Brown v. Entm’t Merchs. Ass’n, 564 U.S. 786,

799 (2011). It is the highest and most rigorous form of judicial review. Reed, 576 U.S. at 163–


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64. It requires a court to examine “whether a regulation is necessary to serve a compelling state

interest and is narrowly drawn to achieve that end.” Casey v. City of Newport, R.I., 308 F.3d 106,

110 (1st Cir. 2002) (internal citations and quotations omitted). “Narrow tailoring in the strict

scrutiny context requires the statute to be ‘the least restrictive means among available, effective

alternatives.’” Rideout v. Gardner, 838 F.3d 65, 71 (1st Cir. 2016) (quoting Ashcroft v. Am. Civil

Liberties Union, 542 U.S. 656, 666 (2004)).

       As applied to API’s alleged statements, Plaintiffs’ claims fail strict scrutiny because they

are not narrowly tailored to any compelling government interest. To the contrary, Plaintiffs attack

API’s broad energy information campaigns, which discuss initiatives to reduce the industry’s

carbon footprint and to provide general information on the oil and gas industry. Am. Compl. ¶¶

383, 400, 406, 429, 431, 529; ECF No. 205-1 ¶¶ 68, 70-71, 75-76, 81. Endorsing Plaintiffs’ theory

here would allow government regulation of policy debates about the benefits of the energy

industry, regardless of that regulation’s “fit” with any deceptive merchandising practice. City of

Cincinnati, 507 U.S. at 415, 428 (holding that a city’s ban on distribution of commercial material

via news racks violated First Amendment absent an established “‘fit’ between its goals and its

chosen means” of restriction); see also Vill. of Schaumburg v. Citizens for a Better Env’t, 444 U.S.

620, 637 (1980) (“The Village’s legitimate interest in preventing fraud can be better served by

measures less intrusive than a direct prohibition on solicitation.”). This lack of fit is fatal here, as

is the sweeping breadth of Plaintiffs’ speech restrictions. See, e.g., Washington Post v. McManus,

944 F.3d 506, 510–12, 521, 523 (4th Cir. 2019) (striking down state statute where the law

“burden[ed] too much and further[ed] too little[,]” and the statute did “surprisingly little to further

its chief objective”). Even if Plaintiffs had a compelling interest here in protecting consumers

from deception, it is entirely unclear what pro-energy messaging would not be prohibited.




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       To survive strict scrutiny, Plaintiffs must also demonstrate that there is no less oppressive

way of achieving the same state interest. See Pan Am. v. Municipality of San Juan, P.R., No. CV

18-1017 (PAD), 2018 WL 6503215, at *18 (D.P.R. Dec. 10, 2018). Here, Plaintiffs could achieve

their purported interest—that is, ensuring that consumers hear Plaintiffs’ message about climate

change—through their own speech, meaning there certainly is a less restrictive way of serving the

state interest. See Nat’l Inst. of Family & Life Advocates v. Becerra, 138 S. Ct. 2361, 2376 (2018)

(striking down an alleged consumer protection law because the state could take a counter-position

to that of the regulated party “with a public-information campaign”). Although it would be cheaper

for Plaintiffs to foist that responsibility on API, “[a]dministrative convenience . . . does not present

a sufficient justification for infringing First Amendment freedoms.” N.C. Right to Life, Inc. v.

Leake, 344 F.3d 418, 433 (4th Cir. 2003).

               3.      The chilling effect of Plaintiffs’ claims against API confirms that they
                       should be dismissed now.

       Allowing Plaintiffs’ claims to proceed would also have an irreparable chilling effect on

policy advocacy. Forcing API to litigate for years claims that plainly violate the First Amendment

would act as a warning shot with the following message for any trade association that questions

Plaintiffs’ preferred message on a disputed topic: enter the public debate and risk the government’s

heavy hand coming down on you. For this reason, when speech is the subject of a lawsuit, courts

routinely recognize the importance of early resolution to avoid inadvertently and unnecessarily

suppressing speech. See, e.g., Washington Post Co. v. Keogh, 365 F.2d 965, 968 (D.C. Cir. 1966)

(“In the First Amendment area, summary procedures are . . . essential. For the stake here, if

harassment succeeds, is free debate . . . The threat of being put to the defense of a lawsuit . . . may

be as chilling to the exercise of First Amendment freedoms as fear of the outcome of the lawsuit

itself.”); Gordon, 859 F. Supp. at 1542 (“The conclusion we reach here is supported by a



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consideration of the chilling effect on speech in the academic and non-profit context that could be

the result of allowing actions such as this to proceed.”) (emphasis added).

       There is no reason to postpone resolving this First Amendment issue “at the earliest

possible junction” since “the First Amendment’s protections extend to not only unconstitutional

laws, but also to unnecessary litigation that chills speech.” Green v. Miss U.S., LLC, 52 F.4th 773,

800 (9th Cir. 2022) (emphasis in original). Deferring resolution of these matters would “run[]

directly counter to the First Amendment’s right, not just to speak, but to be free of protracted

speech-chilling litigation.” Id. at 793; see also McBride v. Merrell Dow & Pharms. Inc., 717 F.2d

1460, 1467 (D.C. Cir. 1983) (noting that the “harassment of lawsuits,” unless stopped by the

courts, promotes self-censorship). The Court should resolve this issue now because “the threat of

enforcement of an overbroad law deters people from engaging in constitutionally protected speech,

inhibiting the free exchange of ideas.” United States v. Williams, 553 U.S. 285, 292 (2008).

       B.      The Amended Complaint violates API’s right to petition the government for
               redress.

       Plaintiffs’ claims against API also should be dismissed because they impermissibly target

API’s petitioning activities, which are also protected by the First Amendment. See U.S. Const.

amend. I (“Congress shall make no law ... abridging ... the right of the people ... to petition the

Government for a redress of grievances.”). This bedrock protection allows groups to “use the

channels and procedures of state and federal agencies and courts to advocate their causes and

points of view respecting resolution of their business and economic interests vis-à-vis their

competitors.” Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 510–11 (1972).

       An integral component of the right to petition is the Noerr-Pennington doctrine, which

provides individuals and entities with immunity from liability based on activities arising out of

their attempts to influence the passage or enforcement of particular laws. See Prof’l Real Estate



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Inv’rs, Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 56 (1993); United Mine Workers of Am.

v. Pennington, 381 U.S. 657, 669–72 (1965); E. R.R. Presidents Conference v. Noerr Motor

Freight, Inc., 365 U.S. 127, 135 (1961). The doctrine most typically applies in antitrust claims.

See, e.g., Amphastar Pharms. Inc. v. Momenta Pharms., Inc., 850 F.3d 52, 56 (1st Cir. 2017) (“[A]

Sherman Act violation cannot be ‘predicated upon mere attempts to influence the passage or

enforcement of laws.’”) (quoting Noerr, 365 U.S. at 135). But courts have also applied Noerr-

Pennington to RICO claims, see, e.g., Sosa v. DIRECTV, Inc., 437 F.3d 923, 933–42 (9th Cir.

2006), as well as state unfair trade practices acts and state consumer protection laws. See, e.g.,

Suburban Restoration Co., Inc. v. ACMAT Corp., 700 F.2d 98, 102 (2d Cir. 1983) (“[W]e are

confident that Connecticut’s courts would carve out a similar exception to [the Connecticut Unfair

Trade Practices Act] and the common law, whether or not they believed that they were required to

do so by the Constitution.”); Green Mountain Realty Corp. v. Fifth Estate Tower, LLC, 13 A.3d

123, 130–31 (N.H. 2010) (applying Noerr-Pennington to New Hampshire Consumer Protection

Act). Courts in the First Circuit apply Noerr-Pennington to tort claims too. See, e.g., Picone v.

Shire PLC, No. 16-CV-12396-ADB, 2017 WL 4873506, at *5 n.5 (D. Mass. Oct. 20, 2017).

       Here, Plaintiffs’ attack on API’s petitioning activities is brazen. See, e.g., Am. Compl. ¶

207 (describing API’s core function as “seek[ing] to ‘influence public policy in support of a strong,

viable U.S. oil and natural gas industry[.]’”) (quoting About API, American Petroleum Institute,

https://www.api.org/about); ¶ 429 (explaining that the GCSCT Action Memo “outlin[ed] plans to

reach the media, the public, and policy makers with a message emphasizing ‘uncertainties’ in

climate science.”) (emphasis added); ¶ 503 (referring to Defendants’ “lobbying efforts”); ¶ 595

(alleging that Defendants’ activities could have reached the “citizens of the [Plaintiffs] and their




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policy makers”); ¶ 616 (alleging that Defendants were “lobbying against climate bills, energy

regulation, and any impediment to their industry.”). 2

       As the Joint Motion to Dismiss explains, Noerr-Pennington provides API (and all other

Defendants to whom these allegations apply) with First Amendment protection to engage in this

type of core legislative and public policy activity. ECF No. 235 at 18-24; see also, e.g., Council

for Emp’t & Econ. Energy Use v. WHDH Corp., 580 F.2d 9, 11–12 (1st Cir. 1978) (concluding

Noerr-Pennington protected activities geared toward “influencing political decisions of the general

electorate.”); Green Mountain, 13 A.3d at 132–33 (same); Livingston Downs Racing Ass’n v.

Jefferson Downs Corp., 192 F. Supp. 2d 519, 531–37 (M.D. La. 2001) (finding that Noerr-

Pennington covered the defendant’s campaigning activities).

       Plaintiffs may argue that they are not attacking API’s protected petitioning activity, but

instead address API’s other statements and activities. But that distinction cannot be drawn here.

API’s petitioning and lobbying of government entities are interrelated with API’s promotion of

the industry it represents. Noerr-Pennington recognizes that API’s promotional activities are part

and parcel with API’s legislative and public policy activities. In Noerr itself, for example, the

Supreme Court held that the First Amendment protected the defendants’ publicity campaign,

which was “designed to influence the passage of state laws relating to truck weight limits and tax

rates on heavy trucks, and to encourage a more rigid enforcement of state laws penalizing trucks

for overweight loads and other traffic violations.” Noerr, 365 U.S. at 131. So even if the alleged

activities that purport to support Plaintiffs’ claims against API were based on API’s alleged




2
  And as the Joint Motion to Dismiss notes, Plaintiffs’ deletion of several allegations from the
original Complaint referring to other core petitioning activities is “particularly revealing.” ECF
No. 235 at 24.

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targeting of consumers rather than regulators, Noerr protects a publicity campaign targeting both

governmental entities and consumers.

        C.     The doctrine of constitutional avoidance also warns against a broad reading
               of Plaintiffs’ fraud-based claims.

        As addressed in the Joint Motion to Dismiss, Plaintiffs’ two common law consumer-fraud-

based claims (Counts 1 and 2) are not cognizable, and Plaintiffs have no authority to bring a claim

under Rule 7 of the Puerto Rico Rules Against Misleading Practices and Advertisements (Count

3). ECF No. 235 at 52-54. But even if Plaintiffs could bring those claims, the constitutional

avoidance canon requires confining the reach of those claims to conduct in the sale of consumer

goods. “When two interpretations of a statute are possible, one of which would raise serious

constitutional problems, and the other of which would avoid serious constitutional problems, the

court is obligated to construe the statute to avoid such problems.” Atiles-Gabriel v. Puerto Rico,

256 F. Supp. 3d 122, 126–27 (D.P.R. 2017) (quotation and citation omitted); see also Bonilla-

Olmedo v. United States, 677 F. Supp. 2d 511, 516 n.2 (D.P.R. 2009). Here, the broader the Court

reads the fraud-based claims—and the conduct which they cover—the greater danger it poses of

encroaching on API’s First Amendment rights. As addressed more fully above, API’s advocacy

is fully protected speech on a matter of great public importance. See supra at 3-11. If Plaintiffs’

fraud-based claims are construed overbroadly to reach public advocacy on the benefits of an energy

ecosystem by a nonseller, that would transform these fraud-based claims into powerful tools of

censorship.

II.     Plaintiffs’ claims against API are time-barred.

        As stated in the Joint Motion to Dismiss, Plaintiffs’ claims accrued at the latest by

September 2017, and the limitations period for all of Plaintiffs’ claims have since expired (in

September 2021 for the RICO and Antitrust claims, and in September 2018 for the remaining



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claims). ECF No. 235 at 11-17. Plaintiffs have provided no basis for tolling the limitations period

for any of these claims. See id. at 12-15. With respect to API, the limitations period is even further

expired. The Amended Complaint—filed on November 3, 2023—is determinative as to whether

Plaintiffs timely filed suit within the statutory period as to API. That is so because Plaintffs’ claims

against API do not “relate[] back” to the original Complaint. See Fed. R. Civ. P. 15(c); Rodriguez

v. Municipality of San Juan, 659 F.3d 168, 181 (1st Cir. 2011) (applying Puerto Rico law)

(rejecting argument that adding new defendant to complaint after expiration of limitations period

got plaintiff “around any limitations obstacles”); Wallace v. Town of Stratford Bd. of Educ., 674

F. Supp. 67, 69 (D. Conn. 1986) (concluding that date of the filing of amended complaint was the

“proper date from which to calculate the limitations question” because it did not relate back to

original complaint); see also Williams v. United States Postal Service, 873 F.2d 1069, 1073 (7th

Cir. 1989) (“[T]he consequence of allowing a plaintiff to add a defendant after the limitations

period has run, where there has been no actual notice to the defendant, would unfairly prejudice

the defendant by depriving him of the complete defense of the statute of limitations, and certainly

prejudice his defense on the merits.”).

III.     Plaintiffs’ RICO claims fail as to API.

         Plaintiffs allege two RICO enterprises—an “API Enterprise” and a “GCC Enterprise.”

Plaintiffs claim that all of the Oil and Gas Defendants are “associated” with the “API Enterprise,”

and that all Defendants are associated with the “GCC Enterprise.” Am. Compl. ¶¶ 720-21, 723,

729. As set forth in the Joint Motion to Dismiss, Plaintiffs have not pled any of the essential

elements of their RICO claims. ECF No. 235 at 22-38. Plaintiffs’ RICO claims fail for two

additional reasons with respect to API. First, with respect to the alleged “API Enterprise,” API

cannot be liable for a RICO violation as the alleged “enterprise” itself. And second, Plaintiffs fail




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to allege that API participated in any racketeering activities with respect to the alleged “GCC

Enterprise,” as is required under 18 U.S.C. §§ 1962(a), (b), and (c).

       A.      API cannot be liable for the alleged API Enterprise.

       Even if there were an “API Enterprise,” API cannot be liable under RICO when its only

alleged involvement in the enterprise was being the enterprise itself. Under RICO, “‘[t]he

enterprise itself is not liable for RICO violations; rather, the ‘persons’ who conduct the affairs of

the enterprise through a pattern of racketeering activity are liable.’” Llacua v. W. Range Ass’n,

930 F.3d 1161, 1182 (10th Cir. 2019) (quoting In re ClassicStar Mare Lease Litig., 727 F.3d 473,

490 (6th Cir. 2013)). To establish RICO liability, a plaintiff “must allege and prove the existence

of two distinct entities: (1) a ‘person’; and (2) an ‘enterprise’ that is not simply the same ‘person’

referred to by a different name.” Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158, 161

(2001). As a result of this “distinctiveness” requirement, “a corporation may not be liable under

[RICO] for participating in the affairs of an enterprise that consists only of its own subdivisions,

agents, or members. An organization cannot join with its own members to undertake regular

corporate activity and thereby become an enterprise distinct from itself.” In re ClassicStar, 727

F.3d at 490 (internal citation and quotation omitted); see also, e.g., Dell’Aquila v. LaPierre, 491

F. Supp. 3d 320, 332 (M.D. Tenn. 2020) (“[B]ecause the NRA cannot be both an enterprise and a

person for purposes of RICO liability, the RICO claims against the NRA must be dismissed.”).

       Plaintiffs thus “cannot maintain an action against [API] as both the ‘enterprise’ and the

‘person’ subject to liability under RICO.” Bailey v. Memphis Bonding Co., No. 18-2115, 2019

WL 1300092, at *4 (W.D. Tenn. Mar. 21, 2019). But that is exactly what Plaintiffs seek to do

with respect to the alleged API Enterprise. So the RICO claims against API based on the alleged

API Enterprise should be dismissed.




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       B.      Plaintiffs fail to allege that API engaged in any racketeering activities with
               respect to the alleged GCC Enterprise.

       Plaintiffs fail to plead that API did anything with respect to the alleged GCC Enterprise

beyond functioning as a member of GCC. But mere participation in an enterprise—absent any

racketeering activity—cannot support a civil RICO claim. Rather, “to survive a motion to dismiss,

a RICO plaintiff must plead sufficient facts to allow for a plausible inference that that the defendant

somehow ‘le[d], [ran], manag[ed], or direct[ed]’ the enterprise’s affairs.” Friendly Hotel Boutique

Corp. v. ME & A Capital, LLC, No. CIV. 11-1709 JAG, 2012 WL 4062795, at *2 (D.P.R. Sept.

14, 2012) (quoting Reves v. Ernst & Young, 507 U.S. 170, 177 (1993)). This, the Amended

Complaint fails to do.

       The only activities in which API allegedly engaged with respect to the GCC Enterprise

relate to its membership status in GCC—Plaintiffs allege that API was a founding member of

GCC. Am. Compl. ¶¶ 211(a), 364-65. Plaintiffs fail to allege any additional facts showing how

API participated in the alleged GCC Enterprise. And their conclusory allegations about API’s

mere membership in the GCC cannot show that API “conducted” or “participated” in the conduct

of a RICO enterprise. Plaintiffs must allege that API played “some part in directing the enterprise’s

affairs” and “participated in the operation or management of the enterprise itself.” Reves, 507 U.S.

at 177–85 (emphasis in original); see also Friendly Hotel, 2012 WL 4062795, at *2; see also, e.g.,

Whaley v. Auto Club Ins. Ass’n, No. 95-1918, 1997 WL 720451, at *2 (6th Cir. Nov. 12, 1997)

(rejecting argument that defendant was liable under RICO simply “by virtue of being a

participating member of the facility whose representatives sit on the [alleged RICO enterprise’s]

board of governors.”). Plaintiffs’ allegation that API was a member of the GCC thus fails to

plausibly plead that API had any role in leading, running, managing, or directing the alleged GCC

enterprise.



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IV.      Plaintiffs’ product liability claims fail for independent reasons.

         A.     Plaintiffs cannot state a strict product liability claim against a defendant that
                neither manufactures nor sells the product.

         Counts 10 and 11 assert strict liability claims against API based on allegedly defective

fossil fuel products. As explained in the Joint Motion to Dismiss, Count 10 (strict liability – failure

to warn) must be dismissed because Defendants had no duty to warn Plaintiffs or their residents

about climate change. ECF No. 235 at 57-58. Count 11 (strict liability – design defect) must also

be dismissed because Plaintiffs have failed to allege a defect, much less that any purported defect

caused Plaintiffs’ injuries. Id. at 54-57. But these claims also fail as to API in particular because

the Amended Complaint contains no allegation that API has ever designed, manufactured,

distributed, or sold any commercial product, let alone the fossil fuel products in question. That

failure is fatal to their strict liability claims for failure to warn (Count 10) and design defect (Count

11).

         Overwhelming authority holds that strict liability claims against a trade association must

be dismissed when the plaintiff has not alleged that the trade association designed, manufactured,

or sold the product. See, e.g., Newman v. Motorola, Inc., 125 F. Supp. 2d 717, 724 (D. Md. 2000)

(dismissing strict product liability claim against a trade association because the trade association

did not “manufacture or sell a product”). 3 Plaintiffs’ strict liability claims against API must fail



3
  See also Magnus v. Fortune Brands, Inc., 41 F. Supp. 2d 217, 225 (E.D.N.Y. 1999) (“Since the
complaint does not allege that [the trade association] manufactured or sold cigarettes, [the trade
association] cannot be held liable for failure to warn, negligent and defective design, [or] strict
products liability.”); Jefferson v. Lead Indus. Ass’n, Inc., 930 F. Supp. 241, 244, 247 (E.D. La.
1996), aff’d, 106 F.3d 1245 (5th Cir. 1997) (dismissing strict liability claims against trade
association that “neither s[old] nor manufacture[d] a product”); Swartzbauer v. Lead Indus. Ass’n,
Inc., 794 F. Supp. 142, 144 (E.D. Pa. 1992) (dismissing strict liability claim against lead paint
trade association “because it [was] not a seller or supplier as that term is defined by Pennsylvania
law.”); Klein v. Council of Chem. Ass’ns, 587 F. Supp. 213, 223 (E.D. Pa. 1984) (dismissing strict
liability claims against trade association, where “[t]he complaint contain[ed] no allegation that
defendant [trade association] sold a product[,]”); Wissel v. Ohio High Sch. Athletic Ass’n, 78 Ohio

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because Plaintiffs have not alleged—nor could they—that API manufactures, sells, or distributes

fossil fuel products. API thus is not strictly liable for alleged injuries relating to its members’

products as a matter of law.

       B.      Plaintiffs’ negligent design defect claim fails because Plaintiffs do not allege
               that API owes them a duty of care.

       Plaintiffs also lump API into the negligent design defect claim in Count 12. As explained

in the Joint Motion to Dismiss, this claim fails because Plaintiffs fail to plead either causation or a

design defect. ECF No. 235 at 54-57. In addition, this claim fails as to API in particular because

a trade association normally does not owe a duty of care to end users of its members’ products.

See Tuttle v. Lorillard Tobacco Co., 118 F. Supp. 2d 954, 965 (D. Minn. 2000) (“Trade

associations are not ordinarily found to have assumed a duty to the purchasing public unless they

have some measure of control over their manufacturing members or some direct involvement in

the development or marketing the product.”); Meyers v. Donnatacci, 531 A.2d 398, 402 (N.J.

Super. Ct. Law Div. 1987) (“NSPI, as a trade association, owes no duty to the general public who

may use products manufactured and/or installed by its members.”).

       The reason that a duty does not extend from a trade association to a consumer in products

liability cases is that they have no “economic relationship.” Beasock v. Dioguardi Enterprises,

Inc., 494 N.Y.S.2d 974, 978 (Sup. Ct. 1985); see id. at 978 (holding that tire and rim trade

association did not assume a duty to public for injuries caused by product of its members where

the trade association “neither manufacture[d] nor s[old] tires or rims, nor d[id] it specify



App. 3d 529, 539, 605 N.E.2d 458, 464, cause dismissed, 64 Ohio St. 3d 1434, 595 N.E.2d 943
(1992) (concluding that athletic equipment trade association could not be held strictly liable for
injuries from a defectively designed football helmet, where it did not sell helmet); Howard v.
Poseidon Pools, Inc., 133 Misc. 2d 50, 54, 506 N.Y.S.2d 523, 526 (Sup. Ct. 1986), aff’d, 134
A.D.2d 926, 522 N.Y.S.2d 388 (1987), aff’d, 72 N.Y.2d 972, 530 N.E.2d 1280 (1988) (concluding
that swimming pool equipment trade association was not strictly liable to plaintiff for injuries
suffered in diving accident).

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procedures for tire mounting or any other service or maintenance procedures.”). To that end, courts

have held that no duty arises from the remote relationship between a trade association and the end

user of products produced in that trade. See, e.g., Sizemore v. Georgia-Pac. Corp., No. 6:94-2894

3, 1996 WL 498410, at *4 (D.S.C. Mar. 8, 1996) (“Plaintiffs have adduced no facts sufficient to

support a conclusion that HPVA owed any legal duty to plaintiffs as members of the general public.

It is undisputed that HPVA does not design, manufacture, distribute, or sell any building products

and did not participate in the manufacture, design, sale, or installation of the paneling in plaintiffs’

home.”), aff’d sub nom. Sizemore v. Hardwood Plywood & Veneer Ass’n, 114 F.3d 1177 (4th Cir.

1997). 4

           That prudent refusal to impose a novel duty “at large” on non-profit trade associations has

equal force here. API sells no fossil fuel products, so it is not within the realm of a common law

negligence cause of action.

           C.     Plaintiffs’ nuisance claims fail for additional reasons.

           Plaintiffs again lump API into the nuisance claims in Counts 9 and 13 against all

Defendants. As explained in the Joint Motion to Dismiss, these claim fails because Plaintiffs fail

to plead causation for their nuisance claims and otherwise fail to allege how this lawsuit would

abate their claimed nuisance. ECF No. 235 at 58-59. In addition, such nuisance claims do not lie

against defendants that do not control the alleged source of the nuisance, such as trade associations

like API. See, e.g., Allegheny Gen. Hosp. v. Philip Morris, Inc., 228 F.3d 429, 446 (3d Cir. 2000)




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  See also, e.g., Evenson v. Osmose Wood Preserving, Inc., 760 F. Supp. 1345, 1349 (S.D. Ind.
1990) (“In the instant case, the plaintiff has alleged no facts showing that AWPI owed him a duty
to communicate the dangers of working with CCA. AWPI is a trade association; it is undisputed
that AWPI did not manufacture, sell distribute, design, test, conduct safety research on, or set
standards for CCA. We believe that there is no relationship upon which plaintiff may base a claim
for negligence against AWPI.”); accord Harmon v. Nat’l Auto. Parts Ass’n, 720 F. Supp. 79, 80–
81 (N.D. Miss. 1989); Klein, 587 F. Supp. at 225; Meyers, 531 A.2d at 402–04.

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(affirming dismissal of nuisance claim that included tobacco trade associations as defendants);

Penelas v. Arms Tech., Inc., No. 99-1941 CA-06, 1999 WL 1204353, at *3–4 (Fla. Cir. Ct. Dec.

13, 1999), aff’d, 778 So. 2d 1042 (Fla. Dist. Ct. App. 2001) (dismissing nuisance claim, among

others, against three trade associations and other defendants, stating that “[h]ere, the nuisance is

the criminal or reckless misuse of firearms by third parties who are beyond the control of the

defendants. Because defendants have no ability to control the misconduct of these third parties,

nuisance does not apply for that reason as well.”). Here, Plaintiffs fail to allege that API had any

control over their climate change injuries. So the nuisance claims against API should be dismissed.

                                         CONCLUSION

       The Court should dismiss Plaintiffs’ claims against API with prejudice.


In San Juan, Puerto Rico this 13th day of February, 2024.

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                                CERTIFICATE OF SERVICE

       I hereby certify that today I have electronically filed this motion with the Clerk of the Court

using the CM/ECF system, which will send notification of such filing to all attorneys of record.



                                              /s/ Ramon Dapena
                                              Ramón Dapena
                                              Bar No. 125005




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